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                        UNITED STATES DISTRICT COURT FOR THE
                                                                                              17 p` 3. 2 7
                              SOUTHERN DISTRICT OF GEORGI A

                                      SAVANNAH DIVISION


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                                                                                   406
UNITED STATES OF AMERICA )
                                                                             W
                                                                             .R.
        v.                                         )      VIO : 18 U.S .C. 7 and 13 [)
                                                                 O .C .G.A
TROY D. BROWN )                                                  40-5-121
                                                                 40-6-181
                                                                 Driving under Suspended Licens e
                                                                 Speeding

                                           COUNT ONE

THE UNITED STATES ATTORNEY CHARGES :

  That on or about August 2nd, 2006 , on Fort Stewart Military Reservation, land under the

exclusive ju ri sdiction of the United States and located within the Southern Dist rict of Georgia,

                                        TROY D. BROW N

did unlawfully drive a motor vehicle while his driver ' s license was suspended, in violation of

Title 18, United States Code , Sections 7 and 13, and the Official Code of Georgia Annotated,

Section 40 - 5-121 .

                                           COUNT TWO

THE UNITED STATES ATTORNEY FURTHER CHARGES :

  That on or about August 2nd , 2006 , on Fort Stewart Military Reservation , land under the

exclusive jurisdiction of the United States and located within the Southern District of Georgia,
            Case 4:06-po-00354-GRS Document 1 Filed 10/17/06 Page 2 of 2




                                       TROY D. BROWN

did unlawfully drive a motor vehicle at an approximate speed of 72 miles per hour in a 55 mile

per hour zone, in violation of Title 18, United States Code, Sections 7 and 13, and Official Code

of Georgia Annotated, Section 40-6-181 .




                                                   LISA GODBEY WOOD
                                                   UNITED STATES ATTORNEY




                                                               Blo'iin t
Assi tant US . Attorney                             pecial Alsistant U.S . Attorney
                                                   West Virginia Bar
